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                   UNITED STATED DISTRICT COURT
                    NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION
In re: AT&T INC. CUSTOMER DATA          §      Case No. 3:24-cv-00757-E
SECURITY BREACH LITIGATION              §
                                        §      MDL No. 3114
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        MAJORITY PLAINTIFFS’ SUPPLEMENTAL STATUS REPORT




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       Plaintiffs Alex Petroski, Andrew March, Nicholas Nelli, Mike Montoya, Matthew Barkley,

Jeffrey Cumo, Tiara Alston, Richard Slovenkay, Wesley Hansen, Patricia Dean, Alison

Williamson, Aurora Rosario, Ryan Aquino, Joseph Casey, Raquel Agee, Dan Hearon, Geri

Sherwood, Kylin Smith, Scott Mathews, Paola Williams, Elaine Hernandez, Nella Citino, Daniel

Mizell, Brandon Huyler, M. Andrew Stover, Cameron King, R.D. Randall, Brian Patterson,

Ahmed Abdellatif, Philip Eisen, Randall McGee, Rachel Lee Orejudos, Jean Felix, Stephen Head,

and Bart Gillen (the “Majority Plaintiffs”) respectfully submit this Supplemental Status Report. 1

       On June 5, 2024, the United States Judicial Panel on Multidistrict Litigation (“JPML”)

granted Plaintiff Alex Petroski’s motion under 28 U.S.C. § 1407 to centralize this litigation in the

Northern District of Texas and transferred one action to this District (MDL No. 3114, ECF 139).

The JPML further assigned this litigation to the Hon. Ada E. Brown. On June 6, the JPML entered

a Conditional Transfer Order (“CTO”) of a further 18 actions from seven judicial districts (ECF

140). On June 12, the JPML entered a second CTO, relating to a further five actions from five

judicial districts (ECF 145). On June 14 and June 18, the JPML entered a third CTO (ECF 151)

and fourth CTO (ECF 154), respectively, relating to an additional five actions. 2

       Further, on June 12, 2024, the Majority Plaintiffs filed an initial Status Report (ECF 56)

pursuant to the Court’s Order Granting Plaintiffs’ Unopposed Motion to Consolidate Related Class

Actions Under F.R.C.P. 42(a) dated April 22, 2024 (ECF 17). Therein, the Majority Plaintiffs

stated they have organized and will submit a proposed leadership structure within seven days. 3 On

June 14, a response to the Status Report was filed by Mark Lanier of the Lanier Law Firm and




1
  This Supplemental Status Report is submitted on behalf of 35 plaintiffs, who represent 27 out
of 40 cases pending before this Court.
2
  Objections to the third CTO and fourth CTO are due June 21 and June 25, respectively.
3
  Because of the federal holiday on June 19, Majority Plaintiffs submit this report one day later.



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Chris Seeger of Seeger Weiss LLP (collectively, the “Lanier Group”) (ECF 57) expressing interest

in reaching a consensus and inviting further discussion, and a response by Patrick Yarborough of

Foster Yarborough and Lori G. Feldman of George Feldman McDonald, PLLC (“GFM–

Yarborough Group”) (ECF 58) requesting the Court set a briefing schedule that would permit all

parties and their counsel who desire to seek leadership positions to do so.

       As suggested by the Lanier Group, counsel for the Majority Plaintiffs welcome an

opportunity to confer in good faith with the Lanier Group, the GFM-Yarborough Group, and any

other counsel of record, to reach a consensus or near-consensus well suited to litigate this complex

data breach litigation.

       Accordingly, the Majority Plaintiffs respectfully request until July 11, 2024 (an additional

21 days) or any date as set by the Court to confer with the Lanier Group (and all other counsel) in

the interest of reaching a proposed leadership structure. By July 11, the Plaintiffs will submit a

status report on whether they were able to reach a consensus (or near-consensus).

 Dated: June 20, 2024                                Respectfully submitted,

                                                     /s/ Joe Kendall               .
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                                                   Counsel for Majority Plaintiffs




                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served on all counsel of record

on June 20, 2024 via CM/ECF, in accordance with the Federal Rules of Civil Procedure.

                                                    /s/ Joe Kendall
                                                    JOE KENDALL




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